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                                      RETURN OF SERVICE


State of New York                              County of                                   District Court

Index Number: 22-CV-06964-VSB Court Date: 9/28/2022 11:00 am
Date Filed: __________

Plaintiff:                                                                  BBW2022009080-3
CALEB S. HERNANDEZ,
vs.
Defendant:
LARRY MILLER, and
ERIC EISBRENNER,

Received by Larry Quintanilla on the 16th day of September, 2022 at 10:50 am to be served on JASON
WARD, 8134 MANDERLY PLACE, CONVERSE, TX 78109.

I, Larry Quintanilla, do hereby affirm that on the 16th day of September, 2022 at 4:06 pm, I:

SUBSTITUTE served by personally delivering a true copy of the ORDER TO SHOW CAUSE FOR
PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING ORDER/ AMENDED VERIFIED
COMPLAINT/ MEMORANDUM OF LAW IN SUPPORT OF ORDER TO SHOW CAUSE FOR
PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING ORDER/ LOCAL RULE 6.1
DECLARATION OF COUNSEL IN SUPPORT OF ORDER TO SHOW CAUSE FOR PRELIMINARY
INJUNCTION AND TEMPORARY RESTRAINING ORDER/ DECLARATION SUPPORT OF ORDER TO
SHOW CAUSE FOR PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING ORDER/
EXHIBITS 1-4 with the date of service endorsed thereon by me, to: JACQUELINE ROBELLARD as CO-
RESIDENT at the address of: 8134 MANDERLY PLACE, CONVERSE, TX 78109, the within named
person's usual place of Abode, who resides therein, who is eighteen (18) years of age or older and
informed said person of the contents therein, in compliance with state statutes.




Military Status: Based upon inquiry of party served, Defendant is not in the military service of the
United States of America.

Marital Status: Based upon inquiry of party served, they refused to state whether or not the Defendant
is married.

Additional Information pertaining to this Service:
9/16/2022 2;57pm recipient called he stated he was working out of state.He stated that a woman
named, Jackie was at his residence and he authorized her to accept service on his behalf.

9/16/2022 3:10 pm 9/16/2022 3:10 pm Attempted service at 8134 MANDERLY PLACE, CONVERSE,
TX 78109 Arrived at recipient's residence, made contact with Jacqueline Robellard, she signed the field
sheet accepting service on recipient's behalf.




Description of Person Served: Age: 45 to 50, Sex: F, Race/Skin Color: Caucasian, Height: 5'5" to 5'10,
Weight: 220 TO 225, Hair: DARK BROWN, Glasses: Y
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                       RETURN OF SERVICE For 22-CV-06964-VSB




“My name is Larry Quintanilla my date of birth is 1/27/1951 and my address is 1406 W. Salinas
San Antonio, TX 78207. I declare under penalty of perjury that the foregoing is true and correct.
Executed in Bexar County, State of Texas on September 19, 2022 by Larry Quintanilla declarant.”




                                                                        Larry Quintanilla
                                                                        PSC-2050, Exp 4/30/24

                                                                        Pronto Process
                                                                        1406 W Salinas
                                                                        San Antonio, TX 78207
                                                                        (210) 226-7192

                                                                        Our Job Serial Number: BBW-2022009080


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